       Case 2:18-cv-02636-CAS-JEM Document 16 Filed 10/05/18 Page 1 of 1 Page ID #:50
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                    Central District of California                            on the following
      G
      ✔ Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
       2:18-cv-2636                         4/1/2018                                         Central District of California
PLAINTIFF                                                                    DEFENDANT
 COZY COMFORT COMPANY LLC                                                      ONTEL PRODUCTS CORPORATION; and
                                                                               DOES 1-100, inclusive


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 87544344                                 7/26/2017                   Cozy Comfort Company LLC (application pending)

2 87642804                                 10/12/2017                  Cozy Comfort Company LLC (application pending)

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


                         See Attached


CLERK                                                        (BY) DEPUTY CLERK                                          DATE
      KIRY GRAY                                                 Ingrid Valdes                                             10/4/2018

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
